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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION


 JEMICAH STEPHENS,                                  )   CIVIL ACTION NO. 3:16-cv-00007-GNS-
                                                    )   CHL
                        Plaintiff,                  )
                                                    )   Electronically Filed
        v.                                          )
                                                    )
 PREMIERE CREDIT OF NORTH                           )
 AMERICA, LLC,                                      )   Removed from Jefferson Circuit Court
                                                    )   Division 8, Civil Action No. 15-CI-006199
                        Defendant.                  )
                                                    )



                              AGREED ORDER OF DISMISSAL

        Upon agreement of Plaintiff Jemicah Stephens and Defendant Premiere Credit of North

 America, LLC, each by and through counsel, and the Court being otherwise sufficiently advised;

        IT IS HEREBY ORDERED that Plaintiff’s claims asserted in this litigation against

 Premiere Credit of North America, LLC are hereby DISMISSED WITH PREJUDICE, each

 party to bear its own attorney’s fees and costs.




                                                               Greg N. Stivers, Judge
                                                             United States District Court
                                                                      October 31, 2018
